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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   8:02CR86
                                           )
              v.                           )
                                           )
ISABEL INFANTE-PINEDA, MOISES              )           REASSIGNMENT ORDER
FLORES-SANDOVAL,                           )
                                           )
                     Defendants.           )
                                           )


       IT IS ORDERED that, in the interest of judicial economy, this case is reassigned

from District Judge Thomas M. Shanahan to District Judge Laurie Smith Camp for

disposition and remains assigned to Magistrate Judge F.A. Gossett for judicial

supervision and processing of all pretrial matters.

       DATED this 21st day of November, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          UNITED STATES DISTRICT JUDGE
